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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

  FAIR FIGHT ACTION, INC., et al.,

            Plaintiffs,

  v.                                                      Civil Action File

  BRAD RAFFENSPERGER, in his official                     No. 1:18-cv-05391-SCJ
  Capacity as Secretary of State of Georgia,
  et al.,

            Defendants.

                  DEFENDANTS’ RESPONSE TO
        THE COURT’S JANUARY 9, 2020 ORDER ON DISCOVERY

       On January 9, 2020, the Court issued an Order asking the parties to respond

to provide a “status update as to the following:

       1.       Whether the January 17, 2020 production goal will be met;

       2.       The status of the expert discovery efforts; and

       3.       Any additional information that needs to be brought to the Court’s

                attention concerning a new scheduling order.”

(Doc. 194.) Defendants respond to the January Order below.
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        1.      The January 17, 2020 Production Goal.

        To date, Defendants have produced 1,560,675 pages of documents to

Plaintiffs, including thousands of pages that were provided earlier this week in

response to requests about training materials (including training materials that were

not presented publicly until after the close of fact discovery in November 2019 and

training documents which were located in an archives folder). In an effort to

expedite discovery and comply with Plaintiffs’ evolving requests, Defendants

immediately produced to Plaintiffs all training materials located on this archive

folder and additional materials created after the close of discovery.1 Defendants

will not, however, be able to complete the latest round of production before

tomorrow.

        Defendants received the new search terms (for the Fourth Requests to

Produce) on January 6, 2020. After our December 23, 2019 Discovery Conference

with the Court, the Secretary began gathering all documents from archive folders

and email servers to execute search terms. Defense counsel received data from the

Secretary’s Office, and Defendants’ third-party vendor uploaded and formatted the

files to be searchable. Due to the large size of the data, and the intervening



1 Defendants have recently discovered that there are documents outside of the scope of discovery (e.g.,

from before the time requested). Defendants can either claw back the documents and cull them down or
leave them with Plaintiffs.


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holidays, uploading these documents to Defendants’ third-party vendor took

several days to process.

        An initial batch of data was provided shortly after the New Year. The total

size of these files when published and available to execute search terms was 49.8

GB.2 Plaintiffs’ search terms were processed on these files beginning

January 6, 2020 and applied to newly identified custodians. Additionally, in an

effort to expedite production, Defense counsel also provisionally flagged

documents for privilege (e.g. by identifying email addresses of inside and outside

counsel in only the “to” and “from” fields). Thus, 36.1 GB of data remains—files

containing search terms and not initially flagged as potentially privileged.

Defendants have commenced reviewing those documents first and are providing

them to the Plaintiffs on a rolling basis. Defendants anticipate producing a first

batch of these documents to Plaintiffs tomorrow, January 17.

        Defendants note that the production is quite large for several reasons. First,

without rehashing the parties’ disagreement as to why, the number of custodians

has almost quadrupled. Second, the search terms are quite broad. For example,

one search term, ((select* OR vot* OR elect* OR ballot) /10 (proper* OR qualif*


2 Additionally, a second batch of data is currently being processed. This batch is approximately 32.2 GB in

size and Defendants anticipate having search terms executed on those documents by tomorrow,
January 17, 2020. Defense counsel will then begin reviewing and producing these documents with the
same process outlined here for the first batch.


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OR count* OR primar* OR elect* OR general), would pull documents that had the

word “vote” within ten words of the word “primary.” Understandably, this

produced a tremendous number of documents (here, 156,826 from the first batch of

data when family documents are included), many of which are likely irrelevant to

the issues in this lawsuit. Similarly, a search for the Fourth Request for Production

used the search term (active OR inactive OR cancel*). Thus, any email from any

custodian with the word “active” will be pulled, regardless of whether the email

addressed voting or elections generally. This search resulted in 31,076 hits,

including family documents, on the first batch of data.

      Defendants believe that, barring additional requests or limitations from

Plaintiffs, the remaining production can be complete by February 28, 2020.

      2.     The Status of Expert Discovery Efforts.

      Plaintiffs’ Proffered Experts:

      Defendants have already taken the depositions of Dr. Brown-Dean,

Dr. Minnitie, and Dr. Jones. Defendants are planning to take the deposition of Mr.

Kennedy in February, and Dr. Smith on January 28, 2020. The parties are working

on a date for Dr. Graves’s deposition.

      Defendants have not received reports from the following individuals

identified by the Plaintiffs: Dr. Herron, Mr. Lenser, Dr. Mayer, Dr. McCrary, or


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Dr. McDonald. And, Defendants do not know if the Plaintiffs plan to file rebuttal

reports.

      Defendants’ Experts:

      Defendants have filed the expert report of Mr. Trende. Dr. Brunell’s report

will be filed on or before the deadline of February 3 (30 days after receiving

Dr. Smith’s data). Defendants do not intend to have rebuttal experts for Drs.

Brown-Dean, Minnitie, and Jones.

      3.       Any Additional Information Concerning A New Scheduling
               Order.

      Defendants plan to file motions for summary judgment and motions under

Federal Rule of Evidence 702 to exclude proffered experts’ testimony. Defendants

also note that Plaintiffs continue to produce previously unidentified individuals

who allegedly had challenges voting during the 2018 election. Defendants would

like the Court’s guidance on any time limitation the Plaintiffs may have to identify

such individuals to the Defendants.



                          (Signatures on the following page)




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Respectfully submitted this 16th day of January, 2019.

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                    CERTIFICATE OF COMPLIANCE

     I hereby certify that the foregoing DEFENDANTS’ RESPONSE TO THE

COURT’S JANUARY 9, 2020 ORDER ON DISCOVERY was prepared

double-spaced in 14-point Times New Roman pursuant to Local Rule 5.1(C).

                             /s/ Josh Belinfante
                             Josh Belinfante
                             Georgia Bar No. 047399
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                          CERTIFICATE OF SERVICE

      I hereby certify that I have this day filed the within and foregoing

DEFENDANTS’ RESPONSE TO THE COURT’S JANUARY 9, 2020

ORDER ON DISCOVERY by using the CM/ECF system, which will

automatically send an email notification of such filing to all counsel of record.

      This 16th day of January, 2019.



                                 /s/ Josh Belinfante
                                 Josh Belinfante
